Case 2:19-cv-13588-NGE-DRG ECF No. 1, PagelD.1 Filed 12/06/19 Page 1 of 10

MIED ProSe 1 (Rev $/16) Complaint for a Civil Case 0

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

_ Case:2:19-cv- 13588
Cnany SOV") BEY Judge: Edmunds, Nancy G.
MJ: Grand, David R.
Filed: 12-06-2019 At 10:33 AM
CMP GRAYSON-BEY V. SOUTHFIELD POLIC

(Write the full name of each plaintiff who is filing this complaint. E DEPARTMENT {DA)

ifthe names of all the plaintiffs cannot fit in the space above, :
please write “see attached” in the space and attach an additional Jury Trial: Cl Yes No
page with the full list of names.) (check one)

» Southfield Poliee Depaékant
B® OFF cee, Foe
D OFFieug TICORL
C pee:
OF Fiche XK cin | Wo Scivebousk

(Write the full name of each defendant who is being sued. Ifthe
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page

with the full list of names.)

Complaint for a Civil Case

Case 2:19-cv-13588-NGE-DRG ECF No.1, PagelD.2 Filed 12/06/19 Page 2 of 10

MIED ProSe — (Rev 5/16) Complaint for a Civil Case

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

(> enn Son - EN

Name

I
Street Address 1&949 3 Wet brook
City and County DeTeoiT
State and ZipCode _ AMIcLAtagun  Y¥¥o.377

C313) Yoe- 6873
Rem ase('n eayreonI@ Gr L, Cow,

-

Telephone Number
E-mail Address

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
For an individual defendant, include the person’s job or title (if known), Attach
additional pages if needed.

Defendant No. 1

oe: th Freld lieu Dgpactontt

Name

Job or Title

(if known)

Street Address AbLO00O Eveeaewn
City and County Se ot Firld ~

State and Zip Code Adv ickic A F3027

Telephone Number

E-mail Address
(if known)

Defendant No. 2

aYUe 7G6- S500

Name Fog

Job or Title CPF ICE. / Sat Field Rl ee Dp .
(if known) /

Street Address ACOOD bye. pL

City and County Sooty Fad

State and ZipCode AK ichatgAW 460377

Telephone Number DHE - "1G & §Sam>

E-mail Address

(if known)

Case 2:19-cv-13588-NGE-DRG ECF No. 1, PagelD.3 Filed 12/06/19 Page 3 of 10

MIED ProSe t (Rev 5/16) Complaint for a Civil Case

Defendant No. 3

Name Messe
Job or Title eFFiewe J SoolkkFidd Pole De.
(if known) ,

Street Address AOD i VERARLEZV
City and County Sys Enid

State and Zip Code Baio Pm “So 37
Telephone Number Hk GC. - §500

E-mail Address
(if known)

Defendant No. 4

Name Faich ar | Wn sci edrnud.¢ hi

eo

Job or Title Cr icwe | Sout Enid 5] CE De.
(if known) /

Street Address Bood FVeeoQiSy.

City and County SviiFieid
State and Zip Code Fascha an FS 3]
Telephone Number DAE Fab -~5 S00

E-mail Address
(if known)

Il. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C.

§ 1332, a case in which a citizen of one State sues a citizen of another State or nation and the
amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check ail that apply)

iW Federal question O Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

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MIED ProSe 1 (Rev 5/16) Complaint for a Civil Case

A, If the Basis for Jurisdiction Is a Federal Question —

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

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@D Tet of penet and Perndswne M87

B. If the Basis for Jurisdiction Is Diversity of Citizenship
l. The Plaintiff(s)

a. [f the plaintiff is an individual
The plaintiff, (name) N/A ~ ,
?F
is a citizen of the State of (name)

b. If the plaintiff is a corporation

The plaintiff, (name) N/A

is incorporated under the laws of the State of (name)
, and has its principal place of business in the

2

State of (name)

(if more than one plaintiff is named in the complaint, attach an additional page
providing the same information for each additional plaintiff.)

2. The Defendant(s)

a, If the defendant is an individual
The defendant, (name) N/A , is a citizen of the
State of fname) ‘ . Or is a citizen of (foreign
nation)

b. If the defendant is a corporation
The defendant, (name) N / A , 1S incorporated
under the laws of the State of (name) , and

has its principal place of business in the State of (name)

. Or is incorporated under the laws of
(foreign nation) , and has its principal place
of business in (name)

(If more than one defendant is named in the complaint, attach an additional
page providing the same information for each additional defendant.)

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MIED ProSe | (Rev 5/16) Complaint for a Civil Case

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes
or the amount at stake—is more than $75,000, not counting interest and costs of

court, because (explain):

III. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly
as possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or
conduct. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

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2019, J uno Drarbirg clown Heoek Ariel Law

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MIED ProSe | (Rev 5/16) Complaint for a Civil Case

IV. ‘Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments. Include any basis for claiming that the wrongs alleged are
continuing at the present time. Include the amounts of any actual damages claimed for the acts
alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,
the amounts, and the reasons you claim you are entitled to actual or punitive money damages,

¥. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,

modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-

related papers may be served. | understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: _ De. + 20.14.

Signature of Plaintiff J \eopicr ~ Tey

/ i
Printed Name of Plaintiff Cre ry gun “Ve y

. ? . -
| ase 2:f¥ ct fetdhofrce-ORG ECF No. 1, PagelD.7 Filed 12/06/19 Page 7 of 10

Case 2:19-cv-13588-NGE-DRG ECF No.1, PagelD.8 Filed 12/06/19 Page 8 of 10

MIED ProSe 1} (Rev 53/16) Complaint for a Civil Case

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Additional Information:

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Case 2:19-cv-13588-NGE-DRG ECF No.1, PagelD.9 Filed 12/06/19 Page 9 of 10

JS 44 (Rev. 02/99)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor Supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM}

nited States in September 1974, is required for the use of the Clerk of Court for the

T@) PLAINTIFFS AS a SON - Rey

County of Residence of First Listed Defendant

(b) County of Residence of First Listed Plaintiff wOaVN if Coty

(EXCEPT IN U.S. PLAINTIFF CASES) i

Case:2:19-cv-13588
Judge: Edmunds, Nancy G.
MJ: Grand, David R.

Filed: 12-06-2019 At 10:33 AM
CMP GRAYSON-BEY Vv.

(c) Attorneys (Firm Name, Address, and Telephone Number)
MAD Uuirdtboweok
Detfeo TMi 4E2) >

(IN US. PLAINTIFF CASES ONLY)

SOUTHFIELD POLIC

DEFENDANTSO 4 ti iid R5) es Dz pardlerest

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AA A

li. BASIS OF JURISDICTION (Piace an “x” in One Box Only) HL Citi E DEPARTMENT (DA) f
for Diversity Vases ump;
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of Business In This State
2 US. Government 14 Diversity Cinzen of Another State 2 0 2 Incorporated and Principal Place Os Os
Defendant indicate Citizenship of Parties in tiem {tt} of Business In Another State
Citizen or Subject of a (13 [2 3. Foreign Nation Oeé fe
Foreign Country
IV. NATURE OF SUIT ¢Ptace an °X” in One Box Onty) : Click here for: Nature of Suit Code Descriptions
2 SCONFRAC PORTS IREEID ANKRUPEC DAS OTHER STATUTES
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OF i20 Marine [) 310 Airplane (F 365 Persona! Injury - of Property 21 USC 881 [7] 423 Withdrawal DD 376 Qui Tam (31 USC
(2) 430 Miller Act (315 Airplane Product Product Liability (1690 Other 28 USC 157 3729(a})
(3140 Negotiable Instrument Liability (1 367 Health Cares (1 400 State Reapportionment
[1150 Recovery of Overpayment |] 320 Assaule. Libel & Pharmaceutical 2 PROPERTY. RIGHTS 4] 410 Antitrusz
& Enforcement of Judgment Slander Personal Injury 17] 820 Copyrights 0 430 Banks and Banking
(4151 Medicare Act [ 330 Federal Employers’ Product Liability 1) 830 Patent OU 450 Commerce
CO 182 Recovery of Defaulted Liability (2 368 Asbestos Personal (01835 Patent - Abbreviated O 460 Deportation
Student Loans [3 340 Marine Injury Product New Dmg Application |[] 470 Racketeer Influenced and
{Excludes Veterans) [9] 345 Marine Product Liabilicy (1 840 Trademark Corrupt Organizations
(5 153 Recovery of Overpayment Liability PERSONAL PROPERTY [22 PABOR: SOCTAL: SECURITY. 4 480 Consumer Credit
of Veteran's Benefits EJ 350 Motor Vehicle (5) 370 Other Fraud (75710 Fair Labor Standards (4861 HIA (1395f% (1 485 Telephone Consumer
EJ 166 Stockholders” Suits C) 355 Motor Vehicle 0 373 Truth in Lending Act [1862 Black Lung (923) Protection Act
0) 196 Other Contract Product Liability 1 380 Other Personal (4720 Labor/Management [3 863 DIWC/DIWW (405(g))_ |) 490 Cable/Sat TV
{J 195 Contract Product Liability [7] 360 Ciher Personat Property Damage Relations (4864 SSID Tide XVI C1] 850 Securities/Commodites/
7196 Franchise Injury (1 385 Property Damage (0740 Railway Labor Act [1865 RS) (405(g)) Exchange

(C0 362 Personal Injury -
Medical Malpractice

Product Liability (1751 Famity and Medical

Leave Act

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(224 Foreclosure C1 441 Voting Cl 463 Alien Detainee Income Security Act or Defendant}
(4230 Rent Lease & Ejectment [J 442 Employment (2 310 Motions to Vacate [1871 [RS—Third Party
[1240 Torts to Land ©) 443 Housing/ Sentence 26 USC 7609

(1245 Tort Product Liability
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Accommodations CO $30 General

C1 445 Amer. w/Disabilities - |[[] 535 Death Penalty
Employment Other:

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Conditions of
Confinement

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Actions

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DD 893 Environmental Matters

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Act

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Act/Review or Appeal of
Agency Decision

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Proceeding State Court

Appeliate Court

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Reopened

(J 3 Transferred from
_ Another District

(specify) Transfer

C& Multidistrict
Litigation -

C8 Multidistrict
Litigation -
Direct File

Cite the U.S, Civil Cpe under which you are filing (De not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION

Brief description of cause: J+A ji Ariumd misnt

VII. REQUESTED IN EI] CHECK IF THIS 18 A CLASS ACTION DEMAND $

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Clyes [No
VILE. RELATED CASE(S)
IF ANY Gee insinicnony oe DOCKET NUMBER _
DATE . | + SIGNATURE ORNEY OF RECORD
jA- G14 Papo ~ Feed
FOR OFFICE USE ONLY i
RECEIPT 4 AMOUNT APPLYING IFP JUDGE

MAG, JUDGE

Case 2:19-cv-13588-NGE-DRG ECF No. 1, PagelD.10 Filed 12/06/19 Page 10 of 10
PURSUANT TO LOCAL RULE 83.11

1. ls this a case that has been previously dismissed? [| Yes

[Mo

If yes, give the following information:

Court:

Case Na::

Judge:

2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other [| Yes
court, including state court? (Companion cases are matters in which [4 No"
it appears substantially similar evidence will be offered or the same
or related parties are present and the cases arise out of the same
transaction or occurrence.)

lf yes, give the following information:

Court:

Case No.:

Judge:

Notes:
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